Filed 8/27/24 P. v. Murphy CA4/1
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                COURT OF APPEAL, FOURTH APPELLATE DISTRICT

                                                 DIVISION ONE

                                         STATE OF CALIFORNIA



 THE PEOPLE,                                                          D083154

           Plaintiff and Respondent,

           v.                                                         (Super. Ct. No. RIF1501653)

 QUENTIN DAMON MURPHY,

           Defendant and Appellant.


         APPEAL from an order of the Superior Court of Riverside County,
John D. Molloy, Judge. Affirmed.
         Purported appeal from denial of a motion for relief under the California

Racial Justice Act (CRJA) (Pen. Code, § 745,1 subds. (b), (j)), which was filed
before the petition for resentencing was filed, is dismissed.
         Quentin Damon Murphy, in pro. per.; and Joshua L. Siegel, under
appointment by the Court of Appeal, for Defendant and Appellant.
         No appearance for Plaintiff and Respondent.




1        All statutory references are to the Penal Code.
      In 2017, a jury convicted Quentin Damon Murphy of one count of
aggravated kidnapping (§ 209, subd. (b)(1)), three counts of premeditated
attempted murder (§§ 664/187, subd. (a)), stalking (§ 646.9, subd. (a)), and
shooting at an inhabited building (§ 246). The jury also found true firearm
enhancements under section 12022.53, subdivisions (b), (c), and (d). In 2018,
Murphy was sentenced to 16 years four months plus 170 years to life in
prison.
      Murphy appealed and this court affirmed the conviction but remanded
for resentencing in an unpublished opinion. (People v. Murphy (Mar. 1, 2019,
D074702).)
      In 2023, Murphy filed a motion for “relief” under the CRJA (§ 745,
subds (b) &amp; (j)). The trial court denied the motion by written order filed
October 10, 2023. Murphy filed a notice of appeal from the denial of his
“motion.”
      Murphy also filed a separate petition for resentencing under
section 1172.6. The trial court appointed counsel, received briefing, reviewed
the record of conviction, and held a hearing. The court determined Murphy
was the actual perpetrator of the offenses and that the jury had not been
instructed on liability under the felony murder rule, the theory of natural and
probable consequences, or on liability as an aider and abettor. The court
denied the petition for resentencing without issuing an order to show cause or
holding an evidentiary hearing.
      Murphy filed a notice of appeal from the order denying resentencing.
      Appellate counsel has filed a brief pursuant to People v. Delgadillo
(2022) 14 Cal.5th 216 (Delgadillo) indicating counsel has not been able to
identify any potentially meritorious issues for reversal on appeal. Counsel
has also addressed the denial of the motion for relief under the CRJA prior to


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filing the petition in this case. Counsel does not address the merits of the
motion but does address whether such motion is appealable.
      Dealing first with the CRJA appeal, Murphy seeks to appeal a
postjudgment order denying his motion for relief under the CRJA, which was
filed October 10, 2023. However, the CRJA did not authorize such a request
before January 1, 2024, after which an incarcerated defendant whose
judgment was imposed could file a petition for writ of habeas corpus in a
court of competent jurisdiction. (§ 745, subd. (b), (j).) Thus, the trial court
lacked jurisdiction to consider the motion, and the order denying it is not an
appealable order. (See §§ 745, 1473; People v. Belknap (1974) 41 Cal.App.3d
1019, 1029.) Accordingly, the portion of the appeal purportedly taken from
the denial of the motion for resentencing under the CRJA is dismissed.
      Returning to the appeal from the denial of the petition for resentencing,
counsel asks the court to exercise its discretion to independently review the
record for error.
      Murphy was notified of his opportunity to file his own brief on appeal.
He has responded with a supplemental brief. Murphy essentially challenges
the underlying conviction and does not raise any potentially meritorious
issues for reversal of the order denying his petition for resentencing. He
denies guilt, challenges the sufficiency of the evidence at trial, and
emphasizes many “mitigating facts” about his background.
      This appeal is from a postjudgment order dealing with a statutory
petition for resentencing. This appeal is not from a review of the underlying
conviction outside the terms of section 1172.6. We dealt with the challenges
to the underlying conviction in our original appeal. Murphy was the actual
perpetrator and was not prosecuted on any of the theories now disapproved in




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the resentencing statute. Murphy has not raised any potentially meritorious
issues for reversal on appeal.
                                 DISCUSSION
      As we have noted, appellate counsel has filed a Delgadillo brief and
asks the court to exercise its discretion to independently review the record for
error. To assist the court in its review, and in compliance with Anders v.
California (1967) 386 U.S. 738, counsel has identified three possible issues
that were considered in evaluating the potential merits of this appeal.
      1.      Whether the denial of the motion for relief under the CRJA is
appealable.
      2.      Whether the trial court erred by denying relief under the CRJA.
      3.      Whether the trial court erred by denying Murphy’s petition for
resentencing under section 1172.6 without issuing an order to show cause
and holding an evidentiary hearing.
      We have exercised our discretion to review the record of the
resentencing petition for error. We have not discovered any potentially
meritorious issues for reversal on appeal. Competent counsel has
represented Murphy on this appeal.




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                               DISPOSITION
      The order denying the petition for resentencing under section 1172.6 is
affirmed. The appeal of the denial of the motion for relief under the CRJA is
dismissed.



                                                     HUFFMAN, Acting P. J.

WE CONCUR:



KELETY, J.



RUBIN, J.




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